                                                                                              Case 3:24-cv-00212-AGS-VET       Document 26   Filed 03/28/24   PageID.357       Page 1
                                                                                                                                      of 3


                                                                                                1   SQUIRE PATTON BOGGS (US) LLP
                                                                                                    Frank L. Bernstein (SBN: 189504)
                                                                                                2   frank.bernstein@squirepb.com
                                                                                                    Tamara D. Fraizer (SBN: 215942)
                                                                                                3   tamara.fraizer@squirepb.com
                                                                                                    1841 Page Mill Road, Suite 150
                                                                                                4   Palo Alto, CA 94304
                                                                                                    Telephone: (650) 856-6500
                                                                                                5   Facsimile: (650) 843-8777
                                                                                                6   Hannah Makinde (SBN: 307907)
                                                                                                    hannah.makinde@squirepb.com
                                                                                                7   555 South Flower Street, 31st Floor
                                                                                                    Los Angeles, CA 90071
                                                                                                8   Telephone: (213) 624-2500
                                                                                                    Facsimile: (213) 623-4581
                                                                                                9
                                                                                                    Christopher Lorenzo Lewis (pro hac vice pending – OH SBN: 100158)
                                                                                               10   chris.lewis@squirepb.com
                                                                                                    1000 Key Tower, 127 Public Square
                                                                                               11   Cleveland, OH 44114
SQUIRE PATTON BOGGS (US) LLP




                                                                                                    Telephone: (216) 479-8500
                                                                                               12   Facsimile: (216) 479-8780
                               1841 Page Mill Road, Suite 150
                                                                Palo Alto, California 94304




                                                                                               13   Attorneys for Defendant
                                                                                                    Southern California Design Company
                                                                                               14
                                                                                                                        UNITED STATES DISTRICT COURT
                                                                                               15
                                                                                                                      SOUTHERN DISTRICT OF CALIFORNIA
                                                                                               16
                                                                                               17
                                                                                                    TAYLOR MADE GOLF                          Case No. 3:24-cv-0212-AGS-VET
                                                                                               18   COMPANY, INC.,
                                                                                                                                              NOTICE OF MOTION AND
                                                                                               19                 Plaintiff,                  MOTION TO DISMISS FOR
                                                                                                                                              FAILURE TO STATE A CLAIM
                                                                                               20        v.                                   UNDER FED. R. CIV. P. 12(b)(6)
                                                                                               21   COSTCO WHOLESALE CORP.,                   Hearing: May 3, 2024
                                                                                                    and SOUTHERN CALIFORNIA                   Time:    2:30 p.m.
                                                                                               22   DESIGN COMPANY d/b/a INDI                 Judge: Hon. Andrew G. Schopler
                                                                                                    GOLF,
                                                                                               23
                                                                                                                  Defendants.
                                                                                               24
                                                                                               25
                                                                                               26
                                                                                               27
                                                                                               28
                                                                                                                                                              NOTICE OF MOTION TO DISMISS
                                                                                                                                                                Case No. 3:24-CV-0212-AGS-VET
                                                                                                                                                                            1100867150\1\AMERICAS
                                                                                              Case 3:24-cv-00212-AGS-VET      Document 26     Filed 03/28/24   PageID.358       Page 2
                                                                                                                                     of 3


                                                                                                1         PLEASE TAKE NOTICE THAT on May 3, 2024, at 2:30 p.m., or as soon
                                                                                                2   as the matter may be heard, in the courtroom of the Honorable Andrew G. Schopler
                                                                                                3   at the United States District Court for the Southern District of California, Defendant
                                                                                                4   Southern California Design Company d/b/a Indi Golf (“SCDC”) will, and hereby
                                                                                                5   does, move the Court to dismiss Counts I–VI of the Complaint of Taylor Made Golf
                                                                                                6   Company, Inc. (“Taylor Made”) against SCDC, for failure to state a claim under Fed.
                                                                                                7   R. Civ. P. 12(b)(6).
                                                                                                8         Certificate of Compliance
                                                                                                9         The undersigned certifies that counsel for SCDC met and conferred with
                                                                                               10   counsel for Taylor Made by videoconference on March 15, 2024, to discuss the issues
                                                                                               11   underlying the instant motion. No agreement was reached.
SQUIRE PATTON BOGGS (US) LLP




                                                                                               12         This motion is based upon this Notice of Motion, the supporting Memorandum
                               1841 Page Mill Road, Suite 150
                                                                Palo Alto, California 94304




                                                                                               13   of Points and Authorities, the Declaration of Robert Lang, the Declaration of Hannah
                                                                                               14   Makinde, all pleadings and papers filed in this action, and such other arguments and
                                                                                               15   evidence as may properly come before the Court.
                                                                                               16                                   Respectfully submitted,
                                                                                               17   Dated: March 28, 2024           By: /s/ Frank L. Bernstein
                                                                                                                                    Frank L. Bernstein (SBN: 189504)
                                                                                               18                                   frank.bernstein@squirepb.com
                                                                                                                                    Tamara D. Fraizer (SBN: 215942)
                                                                                               19                                   tamara.fraizer@squirepb.com
                                                                                                                                    1841 Page Mill Road, Suite 150
                                                                                               20                                   Palo Alto, CA 94304
                                                                                                                                    Telephone: (650) 856-6500
                                                                                               21                                   Facsimile: (650) 843-8777
                                                                                               22                                   Hannah Makinde (SBN: 307907)
                                                                                                                                    hannah.makinde@squirepb.com
                                                                                               23                                   555 South Flower Street, 31st Floor
                                                                                                                                    Los Angeles, CA 90071
                                                                                               24                                   Telephone: (213) 624-2500
                                                                                                                                    Facsimile: (213) 623-4581
                                                                                               25
                                                                                               26
                                                                                               27
                                                                                               28
                                                                                                                                                               NOTICE OF MOTION TO DISMISS
                                                                                                                                            -2-                  Case No. 3:24-CV-0212-AGS-VET
                                                                                                                                                                             1100867150\1\AMERICAS
                                                                                              Case 3:24-cv-00212-AGS-VET   Document 26   Filed 03/28/24   PageID.359       Page 3
                                                                                                                                  of 3


                                                                                                1                               Christopher Lorenzo Lewis
                                                                                                                                (pro hac vice pending – OH SBN: 100158)
                                                                                                2                               chris.lewis@squirepb.com
                                                                                                                                1000 Key Tower, 127 Public Squire
                                                                                                3                               Cleveland, OH 44114
                                                                                                                                Telephone: (216) 479-8500
                                                                                                4                               Facsimile: (216) 479-8780
                                                                                                5                               Attorneys for Defendant Southern California
                                                                                                                                Design Company
                                                                                                6
                                                                                                7
                                                                                                8
                                                                                                9
                                                                                               10
                                                                                               11
SQUIRE PATTON BOGGS (US) LLP




                                                                                               12
                               1841 Page Mill Road, Suite 150
                                                                Palo Alto, California 94304




                                                                                               13
                                                                                               14
                                                                                               15
                                                                                               16
                                                                                               17
                                                                                               18
                                                                                               19
                                                                                               20
                                                                                               21
                                                                                               22
                                                                                               23
                                                                                               24
                                                                                               25
                                                                                               26
                                                                                               27
                                                                                               28
                                                                                                                                                          NOTICE OF MOTION TO DISMISS
                                                                                                                                         -3-                Case No. 3:24-CV-0212-AGS-VET
                                                                                                                                                                        1100867150\1\AMERICAS
